






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00197-CV






Brad Livingston, in his Official Capacity as the Executive Director of the
Texas&nbsp;Department of Criminal Justice, Appellant


v.


Leslie Arrington, for herself and on behalf of all of those similarly situated; Janet Lock, for
herself and on behalf of all those similarly situated; Kathy Williams, for herself and on
behalf of all those similarly situated, et al., Appellees






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 419TH JUDICIAL DISTRICT

NO. D-1-GN-10-000515, HONORABLE LORA J. LIVINGSTON, JUDGE PRESIDING









NO. 03-11-00266-CV






Brad Livingston, in his Official Capacity as the Executive Director of the
Texas&nbsp;Department of Criminal Justice, Appellant


v.


Leslie Arrington, for herself and on behalf of all of those similarly situated; Janet Lock, for
herself and on behalf of all those similarly situated; Kathy Williams, for herself and on
behalf of all those similarly situated, et al., Appellees






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 419TH JUDICIAL DISTRICT

NO. D-1-GN-10-000515, HONORABLE LORA J. LIVINGSTON, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



		Appellant Brad Livingston has filed a motion requesting the Court to consolidate the
two above-referenced cause numbers for all purposes.  In cause number 03-11-00197-CV, Livingston
filed a notice of appeal from the trial court's oral ruling granting temporary injunctive relief.  The
trial court granted the relief during a hearing on March 25, 2011.  In cause number 03-11-00266-CV,
Livingston filed a notice of appeal from the trial court's corresponding written order.  The Court
grants the motion and consolidates the two above-referenced causes for all purposes.  The issues,
records, and documents filed in cause number 03-11-00197-CV are consolidated into cause number
03-11-00266-CV.  The consolidated appeal shall proceed under cause number 03-11-00266-CV, and
cause number 03-11-00197-CV is hereby dismissed.  Appellate deadlines will run from the date that
the record in cause number 03-11-00266-CV is complete.  See Tex. R. App. P. 38.6.

		Appellant Livingston also has filed a motion to stay trial court proceedings pending
appeal, including staying enforcement of the temporary injunction orders.  Appellees filed a response
to the motion, attaching a copy of the written temporary injunction order.  The order shows that the
permanent injunction hearing is set for July 18, 2011.  Among the injunctive relief granted in the
order, Livingston was ordered immediately to make available to hearing impaired offenders the
services of the Texas Relay Services in certain specified circumstances.

		Appellant has failed to provide any authority to support staying the trial court
proceedings pending appeal.  Further, section 51.014(b) of the civil practice and remedies code
expressly provides that an appeal from a temporary injunction order does not stay trial court
proceedings pending resolution of the appeal.  See Tex. Civ. Prac. &amp; Rem. Code Ann. §&nbsp;51.014(b)
(West 2008).  Moreover, postponing trials on the merits while awaiting rulings on appeals of
temporary injunction orders is discouraged.  See Tex. R. Civ. P. 683 ("The appeal of a temporary
injunction shall constitute no cause for delay of the trial."); Coalition of Cities for Affordable Utility
Rates v. Third Court of Appeals, 787 S.W.2d 946, 947 (Tex. 1990) ("For a court of appeals to stay
proceedings in the trial court while it considers an interlocutory appeal increases delay and expense
and should not be done absent compelling circumstances."); Brar v. Sedey, 307 S.W.3d 916, 920
(Tex. App.--Dallas 2010, no pet.) (appeal from temporary injunction order dismissed; court
disproved of litigant's tactic to seek continuance of trial on merits and final disposition of case by
way of interlocutory order).  In this context, the Court denies Livingston's motion to stay trial court
proceedings pending appeal.


						__________________________________________

						Melissa Goodwin, Justice

Before Chief Justice Jones, Justices Henson and Goodwin

Dismissed

Filed:   June 10, 2011






